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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


   Civil Action No. 1:14-cv-02881-CMA-MJW

   NIKA RAET BEY, on behalf of herself
   and all others similarly situated,

          Plaintiff,

   v.

   MUSCLEPHARM CORPORATION,

          Defendant.

   ______________________________________________________________________

             MOTION OF DEFENDANT MUSCLEPHARM CORPORATION
                     TO DISMISS COMPLAINT OF PLAINTIFF
   ______________________________________________________________________

          Defendant MusclePharm Corporation (“MPC”), by and through its undersigned

   counsel of record, hereby presents its motion to pursuant to Fed. R. Civ. P. 12(b)(6) to

   dismiss the complaint filed by plaintiff Nika Raet Bey (“Plaintiff”). This Motion to Dismiss

   is filed concurrently with MPC’s Request for Judicial Notice and the Exhibits attached

   thereto, and the Declaration of Jordan R. Moon, Ph.D., presented with regard to the

   Request for Judicial Notice.

   I.     INTRODUCTION

          The Court should exercise its discretion to dismiss the complaint on the grounds

   of the primary jurisdiction of the Food and Drug Administration (the “FDA”). Upon so

   deciding, the Court need not address the other pleading deficiencies, including the fact

   that Plaintiff appears to be bringing this lawsuit not under her legal name but rather

   improperly under a pseudonym. Moreover, the first count alleging breach of the


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   Magnuson-Moss Warranty Act is barred as matter of law in light of the controlling

   regulations of the Food, Drug and Cosmetic Act (the “FDCA”). The second and third

   counts for breach of warranty and the fourth count under the Pennsylvania Unfair Trade

   Practices and Consumer Protection Law also are insufficiently pleaded to state a claim.

   II.   STANDARD OF REVIEW FOR MOTION TO DISMISS

         In Ashcroft v. Iqbal, 556 U.S. 662 (2009), citing Bell Atlantic Corp. v. Twombly,

   550 U.S. 544 (2007), and finding the pleadings in that case to be insufficient, the U.S.

   Supreme Court states as follows:

         [T]he tenet that a court must accept as true all of the allegations contained
         in a complaint is inapplicable to legal conclusions. . . . Determining
         whether a complaint states a plausible claim for relief will, as the Court of
         Appeals observed, be a context-specific task that requires the reviewing
         court to draw on its judicial experience and common sense. (Citation
         omitted.) But where the well-pleaded facts do not permit the court to infer
         more than the mere possibility of misconduct, the complaint has alleged—
         but it has not ‘show[n]’—‘that the pleader is entitled to relief.’ Fed. Rule
         Civ. Proc. 8(a)(2).

   Iqbal, at 678-679. (emphasis added).

         The facts must be sufficient to push the claims “across the line from conceivable

   to plausible.” Twombly, at 557. The Court should not “assume the truth of legal

   conclusions merely because they are cast in the form of factual allegations.” W. Mining

   Council v. Watt, 643 F.2d 618, 624 (9th Cir. 1981). Plaintiff’s conclusions and

   allegations not based on the Actual FitMiss label and marketing statements are

   insufficient and should be disregarded.

         As with other consumer “class action” complaints alleging claims that defy

   credibility regarding the understanding of the reasonable consuming public, the “survival


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   of the instant claim would require this Court to ignore all concepts of personal

   responsibility and common sense.” See Werbel v. PepsiCo, Inc., No. C 09–04456 SBA,

   2010 WL 2673860 at *2 (N.D. Cal., July 2, 2010).

   III.   PLAINTIFF’S COMPLAINT ALLEGING FALSE LABELING OF THE FITMISS
          PRODUCTS MISCHARACTERIZES MPC’S ACTUAL STATEMENTS

          The complaint is replete with generic references to claims about other dietary

   supplements, not applicable here, while mischaracterizing the actual FitMiss labels and

   marketing statements. The allegations varying from the actual product labels should be

   disregarded. Plaintiff makes irrelevant assertions about “fat-burning miracles” (see, e.g.,

   Compl. ¶16), which are not based on MPC’s labels and marketing. The Court should

   review the actual product labels.

          The complaint is not clear about which product she purchased. Paragraph 4 of

   the complaint alleges that Plaintiff purchased FitMiss Burn – see the product label below

   and the enlarged image attached as Exhibit 1 to the concurrently filed Request for

   Judicial Notice (“RJN”).




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           Meanwhile, at paragraphs 13 and 15, the complaint also creates ambiguity by

   including a different product, FitMiss Tone – see the product label below and the

   enlarged image attached as RJN, Exhibit 2.




          The only marketing statements that should be considered by the Court are those

   set forth on the product label. (See RJN, Ex. 1). It is patently not accurate that “here,

   Defendant promises its diet pills possess magical weight loss properties, such as the

   ability to ‘burn fat’ . . . .” (Compl., ¶ 16.) Plaintiff’s conclusory allegations are distortions

   and not actual quotes from the FitMiss label and should be disregarded as irrelevant to

   the motion to dismiss.

          The FitMiss Burn label, states the following on a side panel:

          BURN. FOCUS. AMAZE! To burn the fat and lose weight, you have to
          curb cravings and increase energy levels. With FitMiss Burn™ and its
          revolutionary 6-stage approach, you can kick-start your metabolism while


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           saying “NO” to pesky cravings, seeing visible changes in less than two
           weeks*. It’s time to get fit and get sexy!

   (RJN, Ex. 1)

   Another panel on FitMiss Burn, states the following:

           -RAPID WEIGHT LOSS—VISIBLE CHANGES IN LESS THAN TWO WEEKS*
           -APPETITE SUPPRESSANT & MOOD BALANCER
           -BOOSTS METABOLISM AND INCREASES ENERGY

   (Id.)

   On another portion of a side panel of FitMiss Burn is the statement “CLINICALLY

   TESTED INGREDIENTS.” (Id.)

           The complaint includes irrelevant surplusage; nowhere does the product label

   say that the product or ingredients themselves “burn fat.” Nowhere does the product

   label state anything other than the fact that the “ingredients” have been “clinically

   tested.”   The active ingredients are indeed backed by substantial clinical data and

   shown to be effective in appetite suppression, energy enhancement and the promotion

   of rapid fat burning and weight loss. (RJN, Exs. 7-A—7-EE). The FDA is well aware of

   this fact, and thus many dozens of dietary supplement products having the same

   ingredients are sold in a highly competitive marketplace. (RJN, Exs. 8-A-G, J-K, M, P-

   T, V-W, Y-Z, BB-II, KK-PP).

           In cases involving allegations of false advertising on a product label, “the primary

   evidence is the advertising itself,” not whatever mischaracterizations the plaintiff pleads.

   Williams v. Gerber Products Co., 439 F. Supp. 2d 1112, 1115 (S.D. Cal. 2006); see

   Werbel v. PepsiCo, Inc., No. C 09–04456 SBA, 2010 WL 2673860 at *1 and n. 1 (N.D.



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   Cal., July 2, 2010) (product packaging image taken from defendant’s Request for

   Judicial Notice).

   IV.    PLAINTIFF SHOULD BE REQUIRED TO FILE SUIT UNDER HER LEGAL
          NAME, WHICH APPEARS TO BE RAMONA R. JASPER

          Fed. R. Civ. Proc, Rules 26(a) and 26(e)(1) require the disclosure of the true

   name of the party plaintiff (absent grounds to conceal her identity for her protection, not

   applicable here). See Dotson v. Bravo, 321 F.2d 663, 664-667 (7th Cir. 2003)

   (upholding district court’s dismissal). Rule 10(a) of the Federal Rules of Civil Procedure

   also provides that “every pleading shall contain a caption setting forth the . . . title of the

   action” and “the title shall include the names of all the parties.” The plaintiff’s “failure to

   file under his true name is also a violation of Rule 10(a).” Dotson, at 667, n. 4.

          The purpose of the Rules requiring the parties to sue under their own names is to

   “protect the public’s legitimate interest in knowing which disputes involving which parties

   are before the federal courts that are supported with tax payments and that exist

   ultimately to serve the American Public.” See Doe v. Indiana Black Expo, Inc., 923 F.

   Supp. 137, 139 (S.D. Id. 1996).

          It appears from other public records that Plaintiff’s legal name is Ramona Roda

   Jasper but that she purports to have changed it to Grand Raza Noblewoman “Sister

   Nika’Raet Qemamu El Bey,” aka Living Soul, in accordance with a document named the

   “Free Moorish American Great Seal Zodiac Constitution.” The Court is requested to

   take judicial notice of the complaint filed October 26, 2005 (Case No. 2:05-cv-05196-

   JAP-MCA; Dkt. 1) in the District of New Jersey, in which Plaintiff, there identifying

   herself as “Nika Raet Bey,” sued North Carolina District Judge Jane V. Harper, the

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   State of North Carolina, and New Jersey State Court Judges Jo-Anne B. Spatola and

   Melvin S. Whitken. (RJN, Ex. 3-A.); (see also RJN, Exs. 3-B, 3-C) (the “Affidavit of

   Facts That Led To This Action” also filed by Plaintiff on March 13, 2006, along with an

   “Emergency Petition for Injunctive Relief” (Case No. 2:06-cv-01180-KSH-PS; Dkts. 1

   and 1-1) in the United States District Court, District of New Jersey).

          This case has nothing to do with any purported need to conceal Plaintiff’s true

   identity. See Doe v. Blue Cross & Blue Shield United, 112 F.3d 869, 872 (7th Cir. 1997)

   (discussing the role of Rule 10(a) and stating that it “instantiates the principle that

   judicial proceedings, civil as well as criminal, are to be conducted in public”); Doe v.

   Rostker, 89 F.R.D. 158, 160 (N.D. Cal. 1981) (denying, under Rule 10(a), the petition to

   sue under a false name stating: “Although the nature of the rule is one of form, the

   purpose behind such a rule is not solely one of administrative convenience. The rule

   serves to apprise the parties of their opponents, and it protects the public’s legitimate

   interest in knowing all the facts and events surrounding court proceedings.”).

          MPC has not been able to ascertain whether there is a “Free Moorish American

   Great Seal Zodiac Constitution” recognized under the laws of the United States, and the

   Court is requested to take judicial notice of what purports to be the “Free Moorish

   American Great Seal Zodiac Constitution,” which is available on line at various sites,

   including http://rvbeypublications.com/catalog/i39.html. (See RJN, Ex. 3-D.) According

   to “Article 6” of the “Zodiac Constitution,” the “Clock of Destiny” also constitutes a

   controlling document. The Court is further requested to take judicial notice of the “Clock

   of Destiny,” at http://clockofdestiny.com/.


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          Under none of these publications does it appear that Ramona Jasper has legally

   changed her name to “Nika Raet Bey” or any permutation thereof. If that is the case,

   then there will be nothing preventing Ramona Jasper from using any other pseudonym

   in the future, thereby concealing her true identity as it may suit her, whether in litigation

   or in any other public dealings. Plaintiff failed to file the complaint under her true name

   and has not petitioned this Court for use of a pseudonym. Accordingly, the Motion to

   Dismiss should be granted, and Plaintiff may amend to identify herself.           If Plaintiff

   wishes to attempt to sue under a fictitious name, then she is required to petition the

   Court for that purpose, so that her true identity cannot be concealed in this litigation or

   from the public. If she declines to do so, then the complaint should be dismissed with

   prejudice.

   V.     THE COURT SHOULD DISMISS THE COMPLAINT IN DEFERENCE TO THE
          PRIMARY JURISDICTION OF THE FOOD AND DRUG ADMINISTRATION

          Plaintiff’s claims regarding the content of the FitMiss product labeling fall

   squarely within the primary jurisdiction of the FDA. Courts regularly dismiss such claims

   in deference to the FDA’s primary jurisdiction. The FDA regulates food, including dietary

   supplements, beverages and cosmetics with the primary jurisdiction to determine the

   content of product labels.

          The primary jurisdiction doctrine promotes the proper utilization of administrative

   expertise to maintain uniformity in the treatment of matters under regulatory oversight

   by leaving decisions within the special competence of the regulatory agencies. See

   Pharm. Research & Mfrs. Of Am. v. Walsh, 538 U.S. 644, 672 (2003), (Breyer, J.

   concurring opinion); Reiter v. Cooper, 507 U.S. 258, 261-269 (1993); S. Utah

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   Wilderness Alliance v. Bureau of Land Mgmt., 425 F.3d 735, 750-751 (10th Cir. 2005)

   (the doctrine serves two purposes: regulatory uniformity and resort to agency expertise);

   Far E. Conference v. United States, 342 U.S. 570, 574-575 (1952) (doctrine comes into

   play if it would serve one or more of the goals of uniformity, expert technical or policy

   decision making, and judicial efficiency).

          By her complaint, Plaintiff wants the Court to regulate product labeling, even

   though Congress assigned that function to the FDA. See Healthpoint, Ltd. v. Stratus

   Pharm., Inc., 273 F. Supp. 2d 769, 787 (W.D. Tex. 2001) (false advertising “claims

   based on alleged mislabeling are, in essence, misbranding claims which should be

   decided by the FDA”). The FDA has promulgated extensive regulations that address

   how a manufacturer may label its products.            See, e.g., 21 C.F.R. §§ 101.1–

   101.108, and Subpart A, §§ 101.1–101.18.

          The primary jurisdiction doctrine “applies where a claim is originally cognizable in

   the courts, and comes into play whenever enforcement of the claim requires resolution

   of issues which, under a regulatory scheme, have been placed within special

   competence of an administrative body, in which case the judicial process is suspended

   pending referral of such issues to the administrative body for its views.” United States

   v. Western Pac. R.R. Co., 352 U.S. 59, 64 (1956) (citing General American Tank Car

   Corp. v. El Dorado Terminal Co., 308 U.S. 422, 433 (1940)). In exercising its discretion

   to apply the doctrine, courts typically look to factors including whether adjudication of

   the issue calls for the administrative body’s expertise and whether there is a desire for

   uniformity within the area of regulation.        See Syntek Semiconductor Co., Ltd. v.


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   Microchip Technology, Inc., 307 F.3d 775, 781 (9th Cir. 2002) (citing United States v.

   General Dynamics Corp., 828 F.2d 1356, 1362 (9th Cir. 1987)).

          For the entire period that the FitMiss products have been on the market, the FDA

   has not taken action with regard to the content of the product label. Moreover, there are

   numerous comparable products with similar product blends. The complaint asks the

   Court to intrude into the role of the FDA and creates the risk of inconsistent impacts on

   some products rather than others.

          A.      Plaintiff Improperly Seeks To Have This Court Take On The Role Of
                  The FDA And Make Decisions Regarding Product Labeling

          Courts defer to the FDA’s primary jurisdiction regarding the “labeling” of a

   product, especially with complaints that do not claim damages for personal injury. The

   primary jurisdiction doctrine applies to consumer claims of false advertising. In the

   Tenth Circuit, the doctrine may be invoked where:

          issues of fact in the case (1) are not within the conventional expertise of
          judges; (2) require the exercise of administrative discretion; or (3) require
          uniformity and consistency in the regulation of the business entrusted to
          the particular agency.

   TON Servs., Inc. v. Qwest Corp., 493 F.3d 1225, 1238 (10th Cir. 2007)

   (emphasis added).

          In Watkins v. Vital Pharmaceuticals, Inc., No. CV 12–09374 SJO, 2013 WL

   5972174 (C.D. Cal.), a case involving a purported consumer class action with

   allegations that the product label was misleading and constituted false advertising, the

   district court granted the motion to dismiss on the grounds of the FDA’s primary

   jurisdiction, ruling as follows:


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          [The primary jurisdiction of the FDA] ‘is a doctrine used by the courts to
          allocate initial decisionmaking responsibility between agencies and courts
          where such jurisdictional overlaps and potential for conflicts exist.’.. . . .

          Congress has granted the FDA regulatory authority over false and
          misleading food labeling as part of the Food, Drug, and Cosmetic Act
          (“FDCA”). 21 U.S.C. § 343(a). The Ninth Circuit has recently offered
          district courts guidance on when it is appropriate to defer to the FDA’s
          regulatory authority over the misleading labeling of food products. . . . .

          Although the precise issue before the court in Pom Wonderful was
          whether the FDCA barred the plaintiff’s Lanham Act claim, courts have
          interpreted the decision as ‘based on the idea of deference to the FDA’
          and ‘implicitly relying on the primary jurisdiction doctrine.’ Following the
          Ninth Circuit’s deference to the FDA in Pom Wonderful, courts have found
          it inappropriate to “decide an issue committed to the FDA’s expertise
          without a clear indication of how the FDA would view the issue.’ (Citations
          omitted). A recurring example of such a situation is ‘where the FDA has
          yet to speak on whether a particular label or claim on a consumer product
          is unlawful or misleading.’ The primary jurisdiction doctrine is appropriate
          in this case because the FDA has yet to consider the nutritional import of
          the claim ‘ZERO IMPACT’ or in what context the claim might mislead
          consumers about a product’s nutritional content.

   Id. at **2-3 (emphasis added and citations omitted).

          Although the Ninth Circuit determination in Pom Wonderful has been reversed by

   the United States Supreme Court in Pom Wonderful LLC v. Coca-Cola Co., 134 S.Ct.

   2228 (2014), the holding does not change the analysis and rationale which fully

   supports this Court’s exercise of its discretion in this case to defer to the FDA’s primary

   jurisdiction. Indeed, in the most recent ruling after the Supreme Court opinion in Pom

   Wonderful, the court in Saubers v. Kashi Company, Case No. 13CV899 JLS (BLM),

   2014 WL 3908595 (S.D. Cal. Aug. 11, 2014), granted the motion to dismiss on FDA

   primary jurisdiction grounds and addressed the Supreme Court’s Pom Wonderful

   decision, as follows:


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          Plaintiffs also argue that the U.S. Supreme Court’s recent decision in POM
          Wonderful LLC v. Coca–Cola Co., ––– U.S. ––––, ––––, 134 S.Ct. 2228,
          2231, 189 L.Ed.2d 141 (2014) holds that courts need not defer to the
          FDA’s expertise in suits over deceptive or misleading food labeling.
          Plaintiffs’ reliance on this case is inapposite, however, because POM
          Wonderful makes no mention of the primary jurisdiction doctrine and
          stands principally for the proposition that Lanham Act unfair
          competition claims brought by a competitor are not precluded by the
          regulatory scheme of the federal Food, Drug, and Cosmetic Act. 134 S.Ct.
          at 2241. Because dismissal on the basis of primary jurisdiction is without
          prejudice and does not necessarily preclude any claims brought by a
          plaintiff, POM Wonderful’ s reasoning does not support Plaintiffs.
                  Accordingly, the Court finds that Plaintiffs’ arguments are without
          merit and that the primary jurisdiction doctrine counsels dismissal without
          prejudice of all of Plaintiffs’ claims at this time. In reaching this conclusion,
          the Court concurs with the majority of district courts within the Ninth Circuit
          that have considered this question. (Citations omitted.) The Court
          GRANTS Kashi’s motion to dismiss on this basis.

   Id. at *4 (emphasis added and in original).

          Accordingly, the case authorities that dealt with the issue of the FDA’s primary

   jurisdiction with reference to the Ninth Circuit opinion in Pom Wonderful continue to offer

   guidance with regard to the exercise of discretion to dismiss on primary jurisdiction

   grounds depending on the facts of the particular case.

          In Haggag v. Welch Foods, Inc., No. CV 13–00341–JGB (OPx), 2014 WL

   1246299 (C.D. Cal.), the court dismissed claims of false advertising and improper

   labeling on primary jurisdiction grounds, ruling as follows:

          As to the fourth factor set forth in General Dynamics, resolution of the
          issue presented to the Court requires expertise and uniformity in
          administration. ‘Food labeling enforcement is a matter that Congress has
          indicated requires the FDA’s expertise and uniformity in administration.’
          As Welch Foods points out, when the FDA acts, its actions affect an entire
          industry. However, if the Court decides whether the Heart Health Label
          here constitutes an implied health claim, it runs the risk of issuing a
          decision that is inconsistent with the FDA’s regulatory scheme or later-
          issued guidance. . . . Moreover, it would be inappropriate to decide the

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          issue, which is committed to the FDA’s expertise, ‘without a clear
          indication of how the FDA would view the issue.’ Accordingly, the Court
          should defer to the FDA for resolution of the issue.

   Id. at *6 (internal citations omitted).

          The district court in Astiana v. Hain Celestial Group, Inc., 905 F. Supp. 2d 1013

   (N.D. Cal. 2012), also dismissed on primary jurisdiction grounds the complaint

   “premised on the argument that the defendants improperly used the word ‘natural’ on

   their cosmetics products’ labels.” Id. at 1014. “Plaintiffs acknowledge that the Food &

   Drug Administration (‘FDA’) has ‘no policy, informal or otherwise, regarding the use of

   the term ‘natural’ on cosmetics.”         Id.   Nevertheless, the district court exercised its

   discretion to defer to the FDA’s primary jurisdiction, stating as follows:

          In fact, the Pom court expressly stated that it was ‘primarily guided’ in its
          decision by ‘Congress’s decision to entrust matters of juice beverage
          labeling to the FDA and by the FDA’s comprehensive regulation of that
          labeling.’ Pom at 1178. The court then made clear that, because it
          ‘lack[ed] the FDA’s expertise in guarding against deception’ in the food
          labeling context, ‘the appropriate forum for Pom’s complaints is the FDA.’
          Id. at 1178. . . . Thus, it appears that the Pom court was implicitly relying
          on the primary jurisdiction doctrine, which allows the court, ‘under
          appropriate circumstances, [to] determine that the initial decisionmaking
          responsibility should be performed by the relevant agency rather than the
          courts.

   Id. at 1015.

          Thus, the Astiana court decided that “[i]n the absence of any FDA rules and

   regulations (or even informal policy statements) regarding the use of the word ‘natural’

   on cosmetics labels, the court declines to make any independent determination of

   whether defendants’ use of ‘natural’ was false or misleading.” Id. at 1016; see also

   Deary v. Vital Pharmaceuticals, Inc., 12-cv-04314 RGK (MAN), in which the plaintiff


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   pleaded unfair business practice and false advertising counts regarding a dietary

   supplement, also with allegations that that the marketing and labeling were deceptive.

   (See RJN, Ex. 4.) The district court in Deary granted VPX’s motion to dismiss on

   primary jurisdiction grounds and entered its November 14, 2012 order, ruling as follows:

                   The Court finds Plaintiff’s allegations to fall outside the traditional
                   expertise of judges and requires the expertise of an administrative
                   authority, in this case the FDA. Plaintiff’s allegations involve . . .
                   contents of labels for dietary supplements, and product safety.
                   These types of issues are best resolved through the expertise of
                   the FDA pursuant to the Primary Jurisdiction Doctrine.

   (Id.) (emphasis added).

           Food, which includes dietary supplements, beverages and drugs are regulated

   by the FDA under the Federal Food, Drug, and Cosmetic Act (“FDCA”). 21 U.S.C. §§

   301 et seq. Section 701(a) of the FDCA states as follows: “The authority to promulgate

   regulations for the efficient enforcement of the Act, except as otherwise provide in this

   section, is hereby vested in the Secretary [of Health and Human Services].” Under this

   authority, the FDA issues regulations to interpret and enforce the requirements of the

   FDCA.

           In addition to Congress providing that the FDA has primary jurisdiction to

   interpret and enforce the FDCA, the FDA’s own regulations confirm its primary

   jurisdiction:   “The FDA has primary jurisdiction to make the initial determination on

   issues within its statutory mandate . . . .” 21 C.F.R. § 10.25(b). The FDA can either

   commence administrative enforcement or bring judicial actions through the Department

   of Justice. 21 U.S.C. 337 and 342(f); 21 C.F.R. § 10.25. Centralization of enforcement

   power provides for administrative “flexibility” that is a “critical component of the statutory

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   and regulatory framework under which the FDA pursues difficult (and often competing)

   objectives.” Buckman Co. v. Plaintiffs’ Legal Committee, 531 U.S. 341, 349 (2001).

          As set forth in paragraph 11 of the complaint, Plaintiff acknowledges the

   jurisdiction of the FDA with regard to dietary supplements under the Dietary Supplement

   Health and Education Act of 1994 (“DSHEA”). The Court should take judicial notice of

   DSHEA, (RJN, Ex. 5-A), as well as the FDA records available to the public on the FDA

   website including informational documents regarding the functions of FDA’s Center for

   Food Safety and Applied Nutrition and its Division of Dietary Supplements. (See RJN,

   Exs. 5-B, 5-C); FDCA Section 403, codified as 21 U.S.C. § 343 (RJN, Exhibit 5-D).

          Furthermore, in addition to the FDCA and FDA Regulations, dietary supplements

   also are subject to DSHEA. The regulatory framework under DSHEA, which also

   governs the FDA in the exercise of its primary jurisdiction, is described as follows:

          In 1994, DSHEA created a unique regulatory framework for dietary
          supplements in the United States. Its purpose was to strike the right
          balance between providing consumers access to dietary supplements that
          they use to help maintain and improve their health and giving the Food
          and Drug Administration (FDA or the Agency) the necessary regulatory
          authority to take action against supplements that present safety problems,
          have false or misleading claims, or are otherwise adulterated or
          misbranded.

   (RJN, Ex. 5-E) (http://www.fda.gov/NewsEvents/Testimony/ucm115163.htm).

          With regard to dietary supplements, the FDA’s Center for Food Safety and

   Applied Nutrition is responsible for enforcement. Courts recognize that the interpretation

   and enforcement of the FDCA and its application to dietary supplements involve

   “complex chemical and pharmacological considerations, and determination of technical



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   and scientific questions,” (citation omitted) and “requires agency expertise.”            See

   Dietary Supplement Coalition, Inc. v. Sullivan, 978 F.2d 560, 563 (9th Cir. 1992).

          Moreover, the FDA itself declares its recognition that it has primary jurisdiction

   over the content of the labeling of dietary supplements:         “Under the Act, FDA has

   exclusive jurisdiction over the safety, and primary jurisdiction over the labeling, of

   dietary supplements.” (RJN Ex. 5-F) (Guidance for Industry: Substantiation for Dietary

   Supplement Claims Made Under Section 403(r)(6) of the Federal Food, Drug, and

   Cosmetic Act, page 2) (emphasis added).

          Furthermore, if the FDA believes that a dietary supplement is mislabeled due to

   the lack of scientific substantiation for its marketing claims, then it takes action under its

   primary jurisdiction. For example, see the Warning Letter, (RJN, Exhibit 6-A), issued by

   the FDA with regard to products named "fatblast X-TREME" and "Extreme Fat Burner,"

   declaring as follows:

          We have reviewed these claims and have concluded that they are not
          supported by reliable scientific evidence. Because these claims lack
          substantiation, they are false and misleading, and cause your products to
          be misbranded under sections 403(a)(1) and 403(r)(6)(B) of the Act [21
          U.S.C. 343(a)(1), (r)(6)(B)]. It is a violation of section 301(a) of the Act [21
          U.S.C. 331(a)], to introduce or deliver for introduction into interstate
          commerce any food, including a dietary supplement, that is misbranded.

   (RJN, Ex. 6-A).

          Additional examples of FDA Warning Letters regarding dietary supplements

   marketed as fat burners for weight loss that the FDA determined lacked substantiation

   are presented with the Request for Judicial Notice as Exhibits 6-B through 6-F.




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          If the FDA has not initiated action with regard to any particular dietary

   supplement, consumers may submit complaints to the FDA about its regulated products

   and may petition the FDA to issue or amend a regulation or to take other administrative

   action regarding a regulated product. See 21 C.F.R. § 10.30. The FDA must rule on all

   citizen petitions received that comply with FDA Regulations. See id. at § 10.30(e). An

   interested person may request reconsideration of the FDA’s ruling on a petition. See id.

   at § 10.33(b). In addition, an interested person may seek judicial review of the FDA’s

   final action under the Administrative Procedures Act. See 5 U.S.C. §§ 500 et seq.; 21

   C.F.R. § 10.45.

          The primary jurisdiction doctrine applies when “protection of the integrity of a

   regulatory scheme dictates preliminary resort to the agency which administers the

   scheme.” United States v. Gen. Dynamics Corp., 828 F.2d 1356, 1362 (9th Cir. 1987)

   (quoting United States v. Philadelphia Nat’l Bank, 374 U.S. 321, 353 (1963)). “Primary

   jurisdiction, like exhaustion, allows complex questions to be answered in a uniform

   manner by one decision maker, the agency, rather than many different courts.” 33

   Wright & Koch, Federal Practice and Procedure: Judicial Review § 8399 (2006).

          The FDCA prohibits the introduction into interstate commerce of any product that

   is misbranded. See 21 U.S.C. § 331(a). The FDCA deems a food or beverage

   “misbranded” if, among other things, its labeling is “false or misleading in any particular.”

   21 U.S.C. § 343(a). Among other things, the FDCA sets forth specific requirements

   regarding the labeling of food and beverages. See 21 U.S.C. § 343(f).




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           To implement the FDCA, the contents of the label for a product such as

   “FitMiss” fall squarely within the jurisdiction of the FDA. See 21 C.F.R. § 111, Title 21 –

   Food and Drugs: Chapter I. Food and Drug Administration, Department of Health and

   Human Services; Subchapter B. Food for Human Consumption.

           If claims for breach of warranty or the Pennsylvania Unfair Trade Practices and

   Consumer Protection Law could allow the relief Plaintiff seeks in this action, then

   product manufacturers could be subject to different labeling requirements in each of the

   states. Judges applying the state laws of each of the 50 states all could require different

   features for label content, with no coordination or uniformity as now exists under the

   FDA’s primary jurisdiction. Allowing separate lawsuits about whether a the FitMiss

   product sold with its packaging labels should be deemed “mislabeled” under the FDCA

   and the FDA Regulations would run the risk of inconsistent results in various courts as

   well as a result applicable to one manufacturer that is inconsistent with the eventual

   determination by the FDA under its primary jurisdiction.

           Plaintiff seeks to have the Court resolve issues that are squarely within the FDA’s

   expertise, which stems from the focused analysis of risks and years of experience

   addressing how to implement labeling requirements in light of the multitude of factors.

   “The doctrine of primary jurisdiction ‘is a prudential doctrine under which courts may,

   under    appropriate   circumstances,    determine    that   the   initial   decision-making

   responsibility should be performed by the relevant agency rather than the courts.’ ‘The

   doctrine is applicable whenever the enforcement of a claim subject to a specific

   regulatory scheme requires resolution of issues that are within the special competence


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   of an administrative body.’” Davel Communs., Inc. v. Qwest Corp., 460 F.3d 1075,

   1086 (9th Cir. 2006) (internal citations omitted).

          B.     The FDA Has Not Taken Action With Regard To MPC’s FitMiss
                 Because There Is Scientific Substantiation For The Efficacy Of The
                 Products, Their Ingredients, And The Marketing Claims

          By the complaint, Plaintiff wants the Court to take on the role of the FDA and

   evaluate the scientific literature which is supportive of the FitMiss products, their

   ingredients and MPC’s marketing claims.

          Among the representative scientific articles substantiating the efficacy of FitMiss

   Burn and Tone, their ingredients, and the marketing statements, are research studies

   presented with the concurrently filed Request for Judicial Notice. FDA scientists can be

   expected to be well aware of this literature and its import, which confirms the benefits of

   dietary supplements such as FitMiss Burn and Tone. The Court is requested to take

   judicial notice of the examples of scientific literature regularly reviewed by FDA

   scientists, which substantiate efficacy of the FitMiss product ingredients and the

   marketing statements. (RJN, Exs. 7-A through 7-OO).

          Plaintiff’s complaint mischaracterizes and misapplies research articles that

   Plaintiff claims differ from the overwhelming body of scientific literature that supports the

   efficacy of dietary supplements like FitMiss. It therefore is understandable why the FDA

   has taken no action to interfere with MPC’s marketing and sale of FitMiss products.

          Although of course Plaintiff must claim that the product “didn’t work” for her in

   order to have any standing, as a matter of law the Plaintiff’s personal idiosyncratic

   response to the FitMiss product is not relevant to its efficacy. All marketing statements


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   regarding the efficacy of a product necessarily pertain to the results applicable to the

   average consumer, including any attributes specifically identified. See Tambrands, Inc.

   v. Warner-Lambert Co., 673 F. Supp. 1190, 1193-1194 (S.D.N.Y. 1987); Morris v.

   Group W, Inc., 66 F.3d 255, 257-8 (9th Cir. 1995); Hansen Beverage Co. v. Innovation

   Ventures, LLC, No. 2:09–mc–50356, 2009 WL 1543451 at *2 (E.D. Mich. June 2, 2009).

          A review of third-party websites, such as www.bodybuilding.com, shows broad

   support and customer satisfaction among the consumers who use FitMiss products.

   See reviews.bodybuilding.com/FitMiss/Burn; reviews.bodybuilding.com/FitMiss/Tone.

          Moreover, the Court’s taking over the role of the FDA for just a single product

   carries the risk of inconsistent determinations by one court in one state regarding one

   product while there is no similar regulation of all of the many other manufacturers of

   similar products in the marketplace. (See RJN, Exs. 8-A through 8-PP) (various such

   dietary supplements).

          C.       The Complaint Should Be Dismissed On Primary Jurisdiction
                   Grounds

          Since Plaintiff’s claims invade the primary jurisdiction of the FDA, the question

   becomes what this Court should do with the complaint. Courts have either dismissed

   such claims or stayed the litigation pending resolution by the regulatory agency.

          Where an issue falls within an agency’s primary jurisdiction, the district
          court enables ‘referral’ of the issue to the agency . . . . In practice, it
          means that a court either stays proceedings, or dismisses the case
          without prejudice, so that the parties may pursue their administrative
          remedies.

    Id. at 1087.



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          “There is no formal transfer mechanism between the courts and the agency;

   rather, upon invocation of the primary jurisdiction doctrine, the parties are responsible

   for initiating the appropriate proceedings before the agency.” Syntek Semiconductor

   Co. v. Microchip Tech Inc., 307 F.3d 779, 782, n. 3 (9th Cir. 2002), (emphasis added).

          The district court in Watkins v. Vital Pharmaceuticals, Inc., in dismissing the

   complaint on the grounds of the FDA’s primary jurisdiction, ruled as stated as follows:

          Once invoked, the primary doctrine requires a court to suspend
          proceedings in order to ‘give parties [a] reasonable opportunity to seek an
          administrative ruling.’ If a court determines that the doctrine of primary
          jurisdiction applies, it must either stay the case pending administrative
          ruling or dismiss the case without prejudice. The decision to either stay or
          dismiss the case is within a court’s discretion, but it must ensure that no
          party will be ‘unfairly disadvantaged’ by dismissal. The primary factor in
          determining whether a plaintiff will be unfairly disadvantaged is whether
          his claims are likely to become time-barred as a result of dismissal.

   Id. at *4 (internal citations omitted).

          In the present case, Plaintiff alleges to have purchased the product in May 2013.

   Thus, there is no statute of limitations remotely putting the claims at being at risk of

   being time-barred. See Id. at *5. If Plaintiff is actually interested in protecting the public

   as the complaint claims, then Plaintiff has years to pursue her assertions before the

   FDA. There is no reason to stay the instant action, and the Court should grant MPC’s

   Motion to Dismiss on the grounds of the FDA’s primary jurisdiction.

   VI.    THE COMPLAINT FAILS TO STATE A CLAIM UNDER THE MAGNUSON-
          MOSS WARRANTY ACT

          Plaintiff’s first count purports to be claim for breach of warranty under the

   Magnuson-Moss Warranty Act (the “MMWA”). No valid claim can be stated for breach

   of warranty under the MMWA based on the labels of dietary supplements, which are

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   regulated by the FDA. Courts regularly dismiss purported claims breach of warranty

   claims attempted to be brought under the MMWA with regard to the labels of and

   marketing statements for dietary supplements. In dismissing with prejudice such a count

   under the MMWA, the district court in Bates v. General Nutrition Centers, Inc., 897 F.

   Supp. 2d 1000 (C.D. Cal. 2012), ruled as follows:

                 Plaintiff brings one claim under the Magnuson-Moss Warranty Act,
         alleging that Defendants breached their written warranties by stating that
         Defendants’ C-4 Extreme dietary supplement contains DMAA and claimed
         it as a component of geranium. (CAC ¶¶ 102-103.) Defendants argue in
         their Motion that the Magnuson-Moss Warranty Act claim is inapplicable
         here. (Mot. 22.)
                 The Magnuson-Moss Warranty Act applies to written warranties on
         consumer products. 15 U.S.C. §§ 2301-2312. But the Magnuson-Moss
         Warranty Act is limited, because it is ‘inapplicable to any written warranty
         the making or content of which is otherwise governed by Federal law.’ 15
         U.S.C. § 2311(d).
                 Defendants are correct that the Magnuson-Moss Warranty Act
         claim should be dismissed because the Food, Drug, and Cosmetic Act
         governs written warranties on the labeling of dietary supplements. (Mot.
         22.) Other courts have followed the same language from the Magnuson-
         Moss Warranty Act and dismissed such claims relating to the labeling of
         products that the Food, Drug, and Cosmetic Act regulates. (Citations
         omitted).
                 This case deals with the labeling of Defendants’ C-4 Extreme
         dietary supplement. It matters not whether C-4 Extreme should be
         classified as a food, dietary supplement, or drug — the Food, Drug, and
         Cosmetic Act labeling regulations apply for all three classifications. 21
         U.S.C. § 343. Thus, Plaintiff cannot state a claim for under the Magnuson-
         Moss Warranty Act. Accordingly, Defendants' Motion as to this claim is
         GRANTED.

    Id. at 1002 (emphasis added).

         Thus, in light of the federal regulation of dietary supplement product labels under

   the FDCA, as to “Plaintiff's Magnuson-Moss Warranty Act claim — this claim is

   DISMISSED WITH PREJUDICE.” Id. at 1004.


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   VII.   PLAINTIFF’S SECOND AND THIRD COUNTS FOR BREACH OF WARRANTY
          FAIL TO STATE A CLAIM

          Plaintiff’s second count for “breach of express warranty” and third count for

   “breach of implied warranty of merchantability” fail to state a valid claim.

          Plaintiff’s alleged claims for breach of warranty should be determined under

   Pennsylvania state law. See Elvig v. Nintendo of Am., Inc., 696 F. Supp. 2d 1207, 1210

   (D. Colo 2010) (citing Boone v. MVM, Inc., 572 F.3d 809, 811-812 (10th Cir. 2009) and

   Richard O'Brien Co. v. Challenge-Cook Bros., Inc., 672 F. Supp. 466, 467-468 (D. Colo.

   1987)).

          The pleading of paragraph 4 of the complaint begs the question of what Plaintiff

   actually relied upon, if anything. The complaint alleges that Plaintiff made her purchase

   “after reading representations on the label.” The complaint then goes on to identify

   some statements on the label, but does not state that Plaintiff read those. Then the

   complaint proceeds to allege that Plaintiff’s decision to purchase was influenced by “the

   representations.” Especially in light of the suspicious circumstances regarding how

   Plaintiff came to buy the FitMiss product once, so soon after it came onto the market,

   and then without making any claim for a refund, “found” counsel in Walnut Creek,

   California, to bring a purported class action.

          Although this case should be dismissed in deference to the FDA’s primary

   jurisdiction, as a matter of law the complaint as pleaded is insufficient to allege reliance

   on a particular marketing statement so as to state a claim for breach of express or

   implied warranty. See Boyd v. Johnson & Johnson, No. 2:09–mc–50356, 2002 WL

   372939 at *3 (Pa.Comm.Pl., Jan. 22, 2002) (buyer must be induced to make purchase

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   because of particular statement); Bukoskey v. Palombo, No. 11342-2007, 2007 WL

   4922803 at *471 (Pa.Comm.Pl., Nov. 20, 2007) (no sufficient pleading of guarantee to

   plaintiff’s satisfaction); Starks v. Coloplast Corporation, Civil Action No. 13–3872, 2014

   WL 617130 at **6-7 (E.D. Penn., Feb. 18, 2014) (“failure to support his conclusory

   statements regarding breach of an express warranty with any factual allegations does

   not meet the pleading standard set forth in Twombly”).

         Moreover, any single individual’s level of weight loss is immaterial, including

   Plaintiff’s. If she had purchased aspirin sold for headache relief, and afterward she still

   had a headache, there could be no breach of warranty claim. There is no “money back

   guarantee” based on the unique physiology of any individual consumer. The test is

   whether the product is effective for the average consumer, which Plaintiff fails to plead.

   Tambrands, Inc. v. Warner-Lambert Co., 673 F. Supp. 1190, 1193-1194 (S.D.N.Y.

   1987); Morris v. Group W, Inc., 66 F.3d 255, 257-8 (9th Cir. 1995); Hansen Beverage

   Co. v. Innovation Ventures, LLC, No. 2:09–mc–50356, 2009 WL 1543451 *2 (E.D. Mich.

   June 2, 2009).

         Thus, without a specific allegation that FitMiss is defective and its ingredients do

   not perform for the average consumer – a claim that was not made and cannot be

   pleaded in good faith in light of the substantial scientific support – there also can be no

   claim for breach of implied warranty of merchantability. See Solarz v. DaimlerChrysler

   Corporation, No. 2033 APRILTERM 2001, CONTROL 112087, 2002 WL 452218 at *5

   (Pa.Comm.Pl., Mar. 13, 2002).




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   VIII.   PLAINTIFF FAILS TO STATE A CLAIM UNDER THE PENNSYLVANIA
           UNFAIR TRADE PRACTICES AND CONSUMER PROTECTION LAW

           Plaintiff’s fourth count under the Pennsylvania Unfair Trade Practices and

   Consumer Protection Law (“UTPCPL”) also fails to state a claim, for the same reasons

   as Plaintiff’s failure to plead breach of express warranty. See Boyd, 2002 WL 372939 at

   *4 (UTPCPL claim fails for similar reasons to failure of breach of express warranty

   claim); Bukoskey, 2007 WL 4922803 at *472 (UTPCPL claim fails on same grounds of

   failure of express and implied warranty claim).

   IX.     CONCLUSION

           Plaintiff’s claims of false labeling on dietary supplement product labels are at the

   core of the FDA’s primary jurisdiction. Especially where the product is safe and the

   plaintiff is uninjured, the Court should exercise its discretion to dismiss in recognition of

   and deference to the FDA. For each of these reasons, MPC respectfully requests that

   the Court grant its motion to dismiss Plaintiff’s complaint.

   Dated: November 24, 2014

                                              Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

          I hereby certify that on this 24th day of November, 2014, a true and correct copy of
   the foregoing MOTION OF DEFENDANT MUSCLEPHARM CORPORATION TO
   DISMISS COMPLAINT OF PLAINTIFF was electronically filed with the Clerk of the Court
   using the CM/ECF system, which will send notification of such filing to the following:

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